Case 2:19-cv-13382-GAD-PTM ECF No. 65-1, PageID.1617 Filed 09/14/21 Page 1 of 83

                                    Erina Kansakar
                                      03/05/2021                               ·
   ·1· · · · · · IN THE UNITED STATES DISTRICT COURT
   · · · · · · ·FOR THE EASTERN DISTRICT OF MICHIGAN
   ·2· · · · · · · · · · · SOUTHER DIVISION

   ·3· ·KOHCHISE JACKSON,

   ·4· · · · · · ·Plaintiff,· · · · · · Case No.:· 2:19-cv-13382

   ·5· · · · · -v-· · · · · · · · · · · Hon. Terrence G. Berg

   ·6· ·CORIZON HEALTH, INC., et al.,

   ·7· · · · · · ·Defendant.
   · · ·____________________________/
   ·8

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   10

   11· · · · The Zoom recorded deposition of

   12· · · · ERINA KANSAKAR, M.D.,

   13· · · · Seattle, Washington,

   14· · · · Commencing at 1:05 p.m.,

   15· · · · Friday, March 5, 2021,

   16· · · · Before Cheryl McDowell, CSR-2662.

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   ·1· ·APPEARANCES:

   ·2· ·MR. LAURENCE H. MARGOLIS - P69635

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   18

   19· ·ALSO PRESENT:· MR. NEAL ROGERS, VIDEOGRAPHER

   20

   21

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   ·1· ·Seattle, Washington

   ·2· ·Friday, March 5, 2021

   ·3· ·About 1:05 p.m.

   ·4· · · · · · · · · · · · ·- - -

   ·5· · · · · · · (Plaintiff's Exhibits Nos. 1 and 4 and

   ·6· · · · · · · Defendants' Exhibits Nos. 1, 2, and 3

   ·7· · · · · · · premarked and retained by Counsel.)

   ·8· · · · · · · THE VIDEOGRAPHER:· We are on the record.

   ·9· ·This is the video recorded deposition of Doctor Erina

   10· ·Kansakar being taken remotely via Zoom.· Today is

   11· ·March 5th, 2021, and the time is 1:05 p.m. Eastern

   12· ·Time.

   13· · · · · · · Would the attorneys please identify

   14· ·themselves and the court reporter please swear in the

   15· ·witness.

   16· · · · · · · MR. CROSS:· Ian Cross for the plaintiff,

   17· ·Kohchise Jackson.

   18· · · · · · · MR. CORBET:· Hi.· This is Dan Corbet and

   19· ·Ken Willis, and we're on behalf of Prime Healthcare

   20· ·and Colleen Spencer.

   21· · · · · · · MR. OSWALD:· Mark Oswald of behalf of

   22· ·Doctor Erina Kansakar.

   23· · · · · · · MR. SCARBER:· Good afternoon.· Devlin

   24· ·Scarber appearing on behalf of the Corizon defendants

   25· ·as well as Doctor Papendick.




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   ·1· · · · · · · · · · · · · · ·- - -

   ·2· · · · · · · · · · ERINA KANSAKAR, M.D.,

   ·3· · · ·having first been duly remotely sworn, was examined and

   ·4· · · ·testified on her oath as follows:

   ·5· EXAMINATION BY MR. CROSS:

   ·6· Q.· ·Good morning, Doctor Kansakar.· My name is Ian Cross.

   ·7· · · ·I represent the plaintiff, Kohchise Jackson.

   ·8· · · · · · · · · Have you ever had your deposition taken

   ·9· · · ·before?

   10· A.· ·Yes.

   11· Q.· ·So you know that we need verbal responses, no head

   12· · · ·nods, yes or no?

   13· A.· ·Correct.

   14· Q.· ·And I just want to let you know if you don't

   15· · · ·understand any of my questions, that's fine.· You can

   16· · · ·ask me to clarify.

   17· · · · · · · · · Also, this isn't an endurance test, so if

   18· · · ·you need a break, if you want to go to the bathroom,

   19· · · ·just let me know, okay?

   20· A.· ·Okay.

   21· Q.· ·So did you take the opportunity to review any

   22· · · ·records --

   23· A.· ·Yes.

   24· Q.· ·-- to prepare for this deposition?

   25· A.· ·Yes.· I got a copy of the medical records, and I did




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   ·1· · · ·get a chance to review those records.

   ·2· · · · · · · · · THE COURT REPORTER:· Doctor, can you speak

   ·3· · · ·up a little bit?· You're soft spoken and it's a little

   ·4· · · ·difficult.

   ·5· · · · · · · · · Okay.· Thank you.

   ·6· · · · · · · · · THE WITNESS:· Yes, I did get a copy of all

   ·7· · · ·the medical records, and I did get a chance to review

   ·8· · · ·those medical records.

   ·9· BY MR. CROSS:

   10· Q.· ·Okay.

   11· · · · · · · · · MR. SCARBER:· I don't want to interrupt.

   12· · · ·Just is there any way we can get more light in the

   13· · · ·room where the doctor is?

   14· · · · · · · · · THE WITNESS:· Yeah.· I'm at my home office

   15· · · ·and --

   16· · · · · · · · · MR. SCARBER:· I see.

   17· · · · · · · · · THE WITNESS:· Let me see if I can open this

   18· · · ·curtain to get some more light.

   19· · · · · · · · · MR. SCARBER:· Okay.· I couldn't really see

   20· · · ·you.· I can definitely hear you, so if that's the

   21· · · ·case, that's fine.

   22· · · · · · · · · Oh, that's better actually.· Thank you.

   23· BY MR. CROSS:

   24· Q.· ·Okay.· So let's start with a little background,

   25· · · ·Doctor Kansakar.· Can you give us an overview of your




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   ·1· · · ·training and education since high school?

   ·2· A.· ·Sure.· I did my medical school at B.P. Koirala

   ·3· · · ·Institute of Health Sciences in Dharan, Nepal.

   ·4· · · · · · · · · I came to the United States for my general

   ·5· · · ·surgical residency.· That was from 2006 to 2012.

   ·6· · · · · · · · · After completing my general surgical

   ·7· · · ·residency, I did a fellowship in minimally invasive

   ·8· · · ·surgery at Detroit Medical Center from 2012 to 2013.

   ·9· Q.· ·What is a residency?

   10· A.· ·Residency is training in a medical specialty in order

   11· · · ·to be able to practice that specialty.

   12· Q.· ·And if I heard you correctly, your medical speciality

   13· · · ·is general surgery?

   14· A.· ·Correct.

   15· Q.· ·Are you currently practicing as a general surgeon?

   16· A.· ·Yes, I am.

   17· Q.· ·How many years have you practiced general surgery?

   18· A.· ·I've been in practice since August of 2013.

   19· Q.· ·Continuously?

   20· A.· ·Yes.

   21· Q.· ·Are you board certified?

   22· A.· ·Yes, I am a board certified general surgeon.

   23· Q.· ·Where did you work after your fellowship?

   24· A.· ·After completion of my fellowship, I was at Port Huron

   25· · · ·with Physician Healthcare Network.




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   ·1· Q.· ·And how long did you work there?

   ·2· A.· ·I worked there until February of 2018.

   ·3· Q.· ·While you were working in Port Huron, did you treat an

   ·4· · · ·individual by the name of Kohchise Jackson?

   ·5· A.· ·Yes, I did.

   ·6· Q.· ·Do you recall what treatment, what condition you

   ·7· · · ·provided Mr. Jackson treatment for?

   ·8· A.· ·I remember Mr. Jackson, but I do not recall all the

   ·9· · · ·details.

   10· · · · · · · · · After reviewing the medical records, I

   11· · · ·treated him for a complicated sigmoid diverticulitis.

   12· Q.· ·All right.· I'm going to show you a document.· I'm

   13· · · ·going to try to share the screen here.

   14· A.· ·Sure.

   15· Q.· ·And I want you to look over the document.

   16· · · · · · · · · Can you see it?

   17· A.· ·Yes.

   18· Q.· ·All right.· And let me know when you're done reviewing

   19· · · ·it and if you need me to scroll.

   20· · · · · · · · · And this has been marked as Plaintiff's

   21· · · ·Exhibit 1.

   22· A.· ·I'm okay with that.

   23· Q.· ·Okay.· Do you recognize this document?

   24· A.· ·Yes.

   25· Q.· ·What is it?




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    ·1· A.· ·This is a procedure report.· I did a colonoscopy for

    ·2· · · ·Mr. Jackson.

    ·3· Q.· ·And I see down here in this findings section, you

    ·4· · · ·indicated he has a colovesical fistula, is that

    ·5· · · ·correct?

    ·6· A.· ·Correct.

    ·7· Q.· ·What is a colovesical fistula?

    ·8· A.· ·So a colovesical fistula is a condition where there is

    ·9· · · ·abnormal communication between the colon and the

    10· · · ·urinary bladder.

    11· Q.· ·What's a colon?

    12· A.· ·Colon is a part of the GI tract which is it was the

    13· · · ·end of the gastrointestinal tract where the stool is

    14· · · ·being formed and kind of sits there before somebody

    15· · · ·kind of has a bowel movement.

    16· Q.· ·Okay.· And I see above those findings in this

    17· · · ·recommendation section, you recommended an open

    18· · · ·sigmoid colectomy, is that correct?

    19· A.· ·Correct.

    20· Q.· ·What is an open sigmoid colectomy?

    21· A.· ·So the open sigmoid colectomy is a surgery where we

    22· · · ·make an incision right in the middle to identify the

    23· · · ·colon, usually the sigmoid colon which has a

    24· · · ·communication with the bladder in this case, to resect

    25· · · ·that portion of the colon, and that would be a sigmoid




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    ·1· · · ·colectomy.

    ·2· Q.· ·When you say communication with the bladder, what do

    ·3· · · ·you mean by that?

    ·4· A.· ·That's an abnormal connection.· Sigmoid colon, sigmoid

    ·5· · · ·diverticulitis which this patient has is a condition

    ·6· · · ·where the colon has these weak pouches or protrusions

    ·7· · · ·through -- which are, like, weak points, and that can

    ·8· · · ·get infected, as a result of which they can establish

    ·9· · · ·abscesses or pus pockets, or it could be complicated

    10· · · ·and have communication with the adjacent organs like

    11· · · ·the urinary bladder.

    12· · · · · · · · · So when there is an abnormal connection

    13· · · ·between the colon and the urinary bladder, it's called

    14· · · ·a fistula.

    15· Q.· ·All right.· Now, in the recommendations section, you

    16· · · ·said:· With primary anastomosis.

    17· · · · · · · · · Am I pronouncing that correctly?

    18· A.· ·Correct.

    19· Q.· ·Possible ostomy.

    20· · · · · · · · · What is primary anastomosis?

    21· A.· ·So primary anastomosis is doing a one-stage surgery

    22· · · ·where the plan is to hook the patient back to

    23· · · ·establish the natural route at the same time.

    24· Q.· ·So if I'm understanding you correctly, with primary

    25· · · ·anastomosis, you would do one surgery where you resect




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    ·1· · · ·the infected section of colon and connect the two ends

    ·2· · · ·together?

    ·3· A.· ·Correct.

    ·4· Q.· ·Okay.· What is an ostomy?

    ·5· A.· ·So ostomy is a procedure where we do not hook the

    ·6· · · ·patient's two ends of the colon together but bring a

    ·7· · · ·bag through the abdominal wall so that the bowel --

    ·8· · · ·excuse me -- the stool is rerouted into the bag, and

    ·9· · · ·basically patient is having bowel movements into a

    10· · · ·bag.· It's a diversion.

    11· Q.· ·Why would you do a diversion like that, an ostomy,

    12· · · ·rather than a primary anastomosis?

    13· A.· ·It depends upon the condition during the surgery, if

    14· · · ·there is a lot of swelling or it would be called

    15· · · ·edema, a lot of scar tissue.

    16· · · · · · · · · There is a concern that putting the two

    17· · · ·ends together would result in a potential leak.· Then

    18· · · ·it would be safer to do an ostomy or a diversion.

    19· Q.· ·Okay.· And for Mr. Jackson, did you perform a primary

    20· · · ·anastomosis?

    21· A.· ·No, I did not perform a primary anastomosis.

    22· Q.· ·Did you create an ostomy?

    23· A.· ·Yes, I did.

    24· Q.· ·Was that the first time you created an ostomy in your

    25· · · ·career?




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    ·1· A.· ·No.

    ·2· Q.· ·About how many times have you created an ostomy?

    ·3· A.· ·I would be -- it would be very hard for me to kind of

    ·4· · · ·give a number, but I would say definitely close to a

    ·5· · · ·hundred or more.

    ·6· Q.· ·A hundred or more times.

    ·7· · · · · · · · · Have you ever --

    ·8· · · · · · · · · MR. SCARBER:· Just objection to the

    ·9· · · ·timeframe.· It hasn't been specified.

    10· BY MR. CROSS:

    11· Q.· ·Have you ever reversed an ostomy?

    12· A.· ·Yes, I have.

    13· Q.· ·Do you know approximately how many times you performed

    14· · · ·that procedure?

    15· A.· ·I do not recall a number just on top of my head.· I'm

    16· · · ·not able to give an exact number.

    17· Q.· ·But more than once I assume?

    18· A.· ·Absolutely more than once.· More than, again, maybe

    19· · · ·closer to a hundred or more.

    20· Q.· ·Okay.· So after you created an ostomy for Mr. Jackson,

    21· · · ·did you prescribe a plan of treatment?

    22· A.· ·Yes, I did.

    23· Q.· ·And did your prescribed plan of treatment include a

    24· · · ·barium enema?

    25· A.· ·Correct.




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    ·1· Q.· ·Why did the plan of treatment -- well, first, what is

    ·2· · · ·a barium?

    ·3· A.· ·A barium enema is a radiological study where contrast

    ·4· · · ·which is barium in this case is injected through the

    ·5· · · ·rectum or the anal canal or the anal opening to kind

    ·6· · · ·of see the anatomy of the rectum and give us idea

    ·7· · · ·about the length that's available in the distal -- in

    ·8· · · ·the remaining colon -- excuse me -- in the remaining

    ·9· · · ·rectum.

    10· Q.· ·And why would you need to know that?

    11· A.· ·It helps with surgical planning to kind of get an idea

    12· · · ·how much length is available distally to help with the

    13· · · ·anastomosis or hooking the colon back up.

    14· · · · · · · · · Sometimes it also helps to identify any

    15· · · ·other abnormality like a mass or a growth.

    16· Q.· ·Did your prescribed plan of treatment include a

    17· · · ·colostomy reversal surgery in February of 2017?

    18· A.· ·Yes, I did include that as my plan of treatment.

    19· Q.· ·Why did you include that in the plan of treatment?

    20· · · · · · · · · MR. CORBET:· Just for the record, leading

    21· · · ·on these last couple or that earlier question.· I was

    22· · · ·trying to unmute it.

    23· BY MR. CROSS:

    24· Q.· ·You may answer.

    25· A.· ·Okay.· So my standard care for anybody that gets a




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    ·1· · · ·colostomy is to wait for about six to eight weeks.

    ·2· · · ·The reason I wait for six to eight weeks is to reduce

    ·3· · · ·any swelling or inflammation or edema from the surgery

    ·4· · · ·so that the second surgery or colostomy takedown

    ·5· · · ·becomes easier.

    ·6· · · · · · · · · The goal is to establish the natural route

    ·7· · · ·for the patient so that he or she can have natural

    ·8· · · ·route to poop and have bowel movements.

    ·9· Q.· ·Did I hear you use the term standard of care just now?

    10· A.· ·This is my standard practice.

    11· Q.· ·Okay.· Are you familiar with the term standard of

    12· · · ·care?

    13· · · · · · · · · MR. SCARBER:· I'm just going to place an

    14· · · ·objection to relevancy.· This isn't a malpractice

    15· · · ·case.

    16· · · · · · · · · MR. CORBET:· Join.

    17· BY MR. CROSS:

    18· Q.· ·You may answer.

    19· A.· ·I'm sorry.· I didn't get that question again.

    20· · · · · · · · · Could you repeat that?

    21· Q.· ·Are you familiar with the term standard of care?

    22· A.· ·Yes, I am.

    23· Q.· ·What is the standard of -- what does that term mean?

    24· A.· ·To me it means what I would normally do in a

    25· · · ·particular situation or a health condition.




                                                                                    YVer1f
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    ·1· Q.· ·Okay.· And I'm going to show you another document.

    ·2· · · · · · · · · Can you see the document?

    ·3· A.· ·Yes.

    ·4· Q.· ·Do you recognize what it is?

    ·5· A.· ·Yes.· I think this was a letter to kind of make a

    ·6· · · ·request for approval for his colostomy reversal

    ·7· · · ·surgery.

    ·8· Q.· ·Okay.· And is that your signature?

    ·9· A.· ·Yes, it is.

    10· Q.· ·Are you the author of this letter?

    11· A.· ·Yes.

    12· Q.· ·So you wrote:· My recommendation and standard of care

    13· · · ·for this patient is to have a barium enema x-ray via

    14· · · ·the distal rectal stump and a colostomy reversal?

    15· A.· ·Correct.

    16· Q.· ·Why did you recommend a colostomy reversal?

    17· A.· ·Colostomy is a diversion, and for this patient, it was

    18· · · ·meant to be a temporary plan to let the infection

    19· · · ·settle, and the original plan was to kind of hook him

    20· · · ·back up.· So that was the plan to do a colostomy

    21· · · ·reversal.

    22· Q.· ·So were you able to follow your prescribed plan of

    23· · · ·treatment for this patient?

    24· A.· ·I had plan for tentative surgery in February, but I

    25· · · ·was told that his surgery was not approved.· So I was




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    ·1· · · ·not able to perform the second surgery for the

    ·2· · · ·patient.

    ·3· Q.· ·Was there a medical reason the patient could not have

    ·4· · · ·undergone the second surgery that you were aware of?

    ·5· A.· ·Not that I'm aware of.· He did not have any other

    ·6· · · ·medical conditions that I was aware that would make

    ·7· · · ·him ineligible for surgery.

    ·8· Q.· ·So --

    ·9· · · · · · · · · MR. CORBET:· Just a relevance objection.

    10· BY MR. CROSS:

    11· Q.· ·Would it be fair to say that your prescribed plan of

    12· · · ·treatment was interfered with for a nonmedical reason?

    13· · · · · · · · · MR. CORBET:· Form and foundation.

    14· · · · · · · · · MR. SCARBER:· Leading.

    15· · · · · · · · · MR. CORBET:· Join.

    16· BY MR. CROSS:

    17· Q.· ·You may answer.

    18· A.· ·I do not know that.

    19· Q.· ·Do you know who was responsible for approving or not

    20· · · ·approving the colostomy reversal surgery that you

    21· · · ·planned?

    22· A.· ·I do not know that.

    23· Q.· ·Okay.· Let me go back to this exhibit.· This has been

    24· · · ·marked as Plaintiff's Exhibit 4.

    25· · · · · · · · · MR. SCARBER:· Ian, I don't want to




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    ·1· · · ·interrupt, but I got Exhibit 1, and that was her

    ·2· · · ·original note.

    ·3· · · · · · · · · But did we go through 2 and 3 already?

    ·4· · · · · · · · · MR. CROSS:· No, we haven't.

    ·5· · · · · · · · · MR. SCARBER:· Okay.· I'm sorry.· All right.

    ·6· · · · · · · · · MR. CROSS:· I skipped to 4.

    ·7· · · · · · · · · MR. SCARBER:· Okay.· I thought I missed

    ·8· · · ·something.

    ·9· BY MR. CROSS:

    10· Q.· ·Okay.· And I'm going to draw your attention to this

    11· · · ·last page here, this fax cover sheet.

    12· · · · · · · · · Do you see it says Hope Surgical Services

    13· · · ·at the top?· What is Hope Surgical Services, if you

    14· · · ·know?

    15· A.· ·Hope Surgical Services was the surgical group or the

    16· · · ·surgical division of Physician Healthcare Network.

    17· Q.· ·And this person that faxed this from, Kathy, do you

    18· · · ·know who that person is?

    19· A.· ·Kathy was my office manager at that time.

    20· Q.· ·Do you know her last name?

    21· A.· ·I do not remember her last name right now.

    22· Q.· ·Do you know any other information that would be useful

    23· · · ·if we wanted to find Kathy to identify her?

    24· A.· ·I would contact Physical Healthcare Network.

    25· Q.· ·And I see the fax is to a Colleen.




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    ·1· · · · · · · · · Do you know who Colleen is?

    ·2· A.· ·I do not know who Colleen is.

    ·3· Q.· ·Do you know if this fax was sent at your direction?

    ·4· A.· ·I do not remember but I believe so.

    ·5· Q.· ·Okay.· Why would you direct your office manager to fax

    ·6· · · ·this letter and this document to a Colleen?

    ·7· · · · · · · · · MR. SCARBER:· Foundation, calls for

    ·8· · · ·speculation.

    ·9· BY MR. CROSS:

    10· Q.· ·You may answer.

    11· · · · · · · · · MR. CORBET:· Join.

    12· · · · · · · · · THE WITNESS:· Usually the protocol is

    13· · · ·whenever we get -- in my practice when we schedule a

    14· · · ·surgery, we get an insurance authorization.

    15· · · · · · · · · So it could be that the patient was not

    16· · · ·authorized for surgery, and I wrote this letter to

    17· · · ·make a case for the surgery and asked her to fax it

    18· · · ·over to the insurance company.

    19· · · · · · · · · But I do not know for sure if Colleen is a

    20· · · ·part of that because it doesn't say anything, any more

    21· · · ·details.

    22· BY MR. CROSS:

    23· Q.· ·Okay.

    24· A.· ·Can I take a break?

    25· Q.· ·Sure.




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    ·1· · · · · · · · · How long do you need?

    ·2· A.· ·About five minutes.

    ·3· Q.· ·Sure.

    ·4· A.· ·Thank you.

    ·5· · · · · · · · · THE VIDEOGRAPHER:· We are going off the

    ·6· · · ·record at 1:27 p.m.

    ·7· · · · · · · · · (Off the record at 1:27 p.m.)

    ·8· · · · · · · · · (Back on the record at 1:33 p.m.)

    ·9· · · · · · · · · THE VIDEOGRAPHER:· We are back on the

    10· · · ·record at 1:33 p.m.

    11· BY MR. CROSS:

    12· Q.· ·Doctor Kansakar, I believe you testified before that

    13· · · ·you had performed at least dozens, perhaps a hundred

    14· · · ·colostomy reversal procedures in your career.

    15· · · · · · · · · Do you currently treat patients with

    16· · · ·Medicare?

    17· A.· ·Yes, I do.

    18· Q.· ·Are you a participant in the Medicare program?

    19· A.· ·Currently I'm employed through CHI which is Franciscan

    20· · · ·Health, Catholic Health Initiative, and I believe I am

    21· · · ·a part of the Medicare provider, but I have to check

    22· · · ·to verify that.

    23· Q.· ·Have you ever performed a colostomy reversal procedure

    24· · · ·for a Medicare recipient?

    25· A.· ·I haven't -- I do not check that to see if it's a




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    ·1· · · ·Medicare or any other insurance, so I do not know the

    ·2· · · ·answer to that.

    ·3· · · · · · · · · MR. CORBET:· Relevance objection.

    ·4· · · · · · · · · MR. SCARBER:· Same.

    ·5· BY MR. CROSS:

    ·6· Q.· ·Do you typically have issues with health insurance

    ·7· · · ·companies declining to cover colostomy reversal

    ·8· · · ·procedures?

    ·9· · · · · · · · · MR. SCARBER:· I'm just going to place an

    10· · · ·objection.

    11· · · · · · · · · MR. CORBET:· Same objection.

    12· · · · · · · · · MR. SCARBER:· Go ahead.

    13· · · · · · · · · MR. CORBET:· Just same objection, form and

    14· · · ·foundation.

    15· · · · · · · · · MR. SCARBER:· Same objection to relevancy.

    16· BY MR. CROSS:

    17· Q.· ·You may answer.

    18· A.· ·I'm not aware of.· I do not know.

    19· Q.· ·You don't know?

    20· A.· ·No.

    21· Q.· ·What are -- let me ask you this.· Do you ever place an

    22· · · ·ostomy with the intention that the ostomy be

    23· · · ·permanent?

    24· A.· ·Yes, there are occasions where I would place an ostomy

    25· · · ·knowing that that would be a permanent ostomy.




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    ·1· Q.· ·And when would you do that?

    ·2· A.· ·There are certain medical conditions where there could

    ·3· · · ·be tumor or cancer which is very low in the colon.· It

    ·4· · · ·may involve the sphincter that's responsible for the

    ·5· · · ·continence or incontinence.

    ·6· · · · · · · · · And if that is involved, then,

    ·7· · · ·unfortunately, it would not be an option to hook the

    ·8· · · ·colostomy back to any remnant there because that would

    ·9· · · ·lead to incontinence.

    10· Q.· ·I see.

    11· A.· ·There could be certain medical conditions like

    12· · · ·patients having very severe cardiac condition or lung

    13· · · ·condition which would make another surgery very high

    14· · · ·risk, and in those individuals, colostomy would be

    15· · · ·permanent.

    16· Q.· ·So barring those situations, would you typically try

    17· · · ·to reverse a colostomy at some point after you placed

    18· · · ·it?

    19· A.· ·Yes, that would be my recommendation to try and

    20· · · ·reverse the colostomy.

    21· · · · · · · · · MR. CORBET:· Same objection.

    22· BY MR. CROSS:

    23· Q.· ·And how long would you typically wait before reversing

    24· · · ·the colostomy?

    25· A.· ·I typically wait between six to eight weeks from the




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    ·1· · · ·original surgery.

    ·2· Q.· ·Would there be a medical reason that you might wait,

    ·3· · · ·say, five years?

    ·4· · · · · · · · · MR. CORBET:· Same objection.

    ·5· · · · · · · · · THE WITNESS:· Not to my knowledge.

    ·6· · · · · · · · · MR. CROSS:· Okay.· I don't have further

    ·7· · · ·questions.

    ·8· · · · · · · · · MR. CORBET:· Devlin, would you like to go

    ·9· · · ·first or would you like me to go first?

    10· · · · · · · · · MR. SCARBER:· You go ahead and I'll follow.

    11· EXAMINATION BY MR. CORBET:

    12· Q.· ·Okay.· Hi, Doctor Kansakar.· My name is Dan Corbet.

    13· · · ·I'm going to ask you a few follow-up questions, okay?

    14· A.· ·Sure.

    15· Q.· ·You said you remembered the name Kathy.

    16· · · · · · · · · Was that your office manager from the

    17· · · ·Port Huron office I believe?

    18· A.· ·Correct.· She was our office manager at Hope Surgical

    19· · · ·Services.

    20· Q.· ·And do you happen to remember a conversation with her

    21· · · ·that about this patient in February of 2017?

    22· A.· ·No.· It's been long, and I really do not remember any

    23· · · ·other than what's in the medical records.

    24· Q.· ·And I don't blame you one bit.· I wouldn't remember

    25· · · ·something four years ago, either, that specific, and




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    ·1· · · ·that's why we have some records.

    ·2· · · · · · · · · So I'm going to see if I can try to refresh

    ·3· · · ·your recollection, okay?

    ·4· A.· ·Okay.

    ·5· Q.· ·Let me see if I can pull up a document here.

    ·6· · · · · · · · · Doctor, can you see the note that I put up

    ·7· · · ·on the screen?

    ·8· A.· ·Uh-huh, yes, I can.

    ·9· Q.· ·We can call this Defendant's Exhibit 1.

    10· · · · · · · · · And do you see the date on the left-hand

    11· · · ·side, it says February 1, 2017?

    12· A.· ·Okay.· Yes, I do.

    13· Q.· ·And if we read the note, can you read it to yourself,

    14· · · ·see if it will refresh your recollection?

    15· A.· ·Inmate's colostomy reversal is currently pending.· Per

    16· · · ·Doctor Kansakar's office manager, Kathy, the colostomy

    17· · · ·reversal is not life threatening or emergent.· When

    18· · · ·Kathy was asked for a specific timeframe to have the

    19· · · ·procedure completed per recommended standard of care,

    20· · · ·she stated there is not a timeframe.· It is not a

    21· · · ·life-threatening condition.· It is based on personal

    22· · · ·comfort of the patient.· Inmate's surgery will remain

    23· · · ·postponed at this time.· Will continue to assess and

    24· · · ·monitor.· Colleen Dwean.

    25· Q.· ·I'm sorry.· Go ahead.




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    ·1· · · · · · · · · Okay.· So does that refresh your

    ·2· · · ·recollection of having a conversation with Kathy back

    ·3· · · ·then?

    ·4· A.· ·No, it doesn't.

    ·5· Q.· ·Let me try another one.

    ·6· · · · · · · · · Doctor, here's a note from the state

    ·7· · · ·prison, and near the bottom of it, can you read -- can

    ·8· · · ·you see my mouse?

    ·9· A.· ·Yes, I do.

    10· Q.· ·Can you read that, two sentences?

    11· A.· ·No urgent -- yeah.· Okay.· No urgent medical issues

    12· · · ·were reported from the surgeon's office, and the

    13· · · ·colostomy is functional.· It is not likely that the

    14· · · ·colostomy will be reversed in the MDOC.

    15· Q.· ·Now, do you see the date on this one?

    16· A.· ·That is March 29, 2017.

    17· Q.· ·All right.· Where it talks about no urgent medical

    18· · · ·issues were reported from the surgeon's office and the

    19· · · ·colostomy is functional, do you happen to have a

    20· · · ·recollection of maybe talking to either your office

    21· · · ·manager or somebody about the patient back on or about

    22· · · ·March 29, 2017?

    23· A.· ·No.· When I reviewed the medical records, I think the

    24· · · ·last office note was 1-10, and, unfortunately, I do

    25· · · ·not have any other, you know, recollection of the




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    ·1· · · ·details.

    ·2· Q.· ·Okay.· So we'll call this one for the record

    ·3· · · ·Defendants' Exhibit 2.· Yeah, 2.

    ·4· · · · · · · · · So, Doctor, let me try to refresh your

    ·5· · · ·recollection with one more note.· Doctor, let me get

    ·6· · · ·the date of this thing.· So here's another note from

    ·7· · · ·the state prison.

    ·8· · · · · · · · · Can you read the date of that for us?

    ·9· A.· ·It's 4-7, 2017.

    10· Q.· ·Okay.· And the only place it mentions surgeon is --

    11· · · ·can you see where my mouse is and start reading there,

    12· · · ·just that sentence?

    13· A.· ·No medical necessity per outside documentation or

    14· · · ·from conversation with surgeon's office,

    15· · · ·Doctor Kansakar.

    16· Q.· ·So does this refresh your recollection that maybe you

    17· · · ·had a conversation with somebody either from the state

    18· · · ·prison or in your office?

    19· A.· ·Unfortunately, I do not.

    20· Q.· ·Okay.· Nobody expects you to.· This is four years ago.

    21· · · · · · · · · So if Kathy had come to you either in

    22· · · ·February, March, or April and asked you is the

    23· · · ·reversal of the colostomy medically necessary, would

    24· · · ·it be correct to say that you may have told her it's

    25· · · ·not medically necessary, it's more for the preference




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    ·1· · · ·of the patient, is that fair?

    ·2· A.· ·I cannot say that for sure because in my mind, you

    ·3· · · ·know, I want the natural route to be established for

    ·4· · · ·the patient.

    ·5· Q.· ·Certainly.

    ·6· · · · · · · · · But if you were asked is this more for the

    ·7· · · ·preference of the patient or is this a medically

    ·8· · · ·necessary procedure, would it be your custom, habit,

    ·9· · · ·and procedure if you were asked that question at that

    10· · · ·time that you may have said, yes, it is more for the

    11· · · ·preference of the patient than required as a medical

    12· · · ·necessity?

    13· · · · · · · · · MR. CROSS:· Objection, calls for

    14· · · ·speculation.

    15· BY MR. CORBET:

    16· Q.· ·Do you remember the question, Doctor?

    17· A.· ·Could you repeat that again?

    18· Q.· ·Sure.· If you had talked to somebody in your office,

    19· · · ·possibly Kathy, in January -- I'm sorry -- in

    20· · · ·February, March, or April of 2017 and she told you

    21· · · ·that the jail or the prison had called and wanted to

    22· · · ·know if this is a medically necessary procedure to

    23· · · ·reverse the colostomy, is it possible you may have

    24· · · ·said, well, it's more for the preference of the

    25· · · ·patient, it's not technically a medically necessary




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    ·1· · · ·procedure.· Based on your custom, habit, and practice,

    ·2· · · ·would you have said something along those lines to

    ·3· · · ·Kathy?

    ·4· A.· ·I do not know that.· Usually my answer would be it's a

    ·5· · · ·lifestyle-altering procedure for the patient, and

    ·6· · · ·it's -- it would be very normal for the patient to

    ·7· · · ·have a natural route established.

    ·8· · · · · · · · · I would recommend colostomy reversal.· The

    ·9· · · ·timeframe is usually after the initial six to eight

    10· · · ·weeks' window.· It's not, it's not definite, like,

    11· · · ·when I would do it, but, you know, I would prefer to

    12· · · ·do it within, within some reasonable time as long as

    13· · · ·the initial six to eight weeks is over, and it could

    14· · · ·depend upon, you know, surgeon's availability or

    15· · · ·operating room availability and patient's time

    16· · · ·preference.

    17· Q.· ·If Kathy had told these -- the persons that called

    18· · · ·from either the jail and/or the prison, had told them

    19· · · ·that it was a preference as opposed to a medical

    20· · · ·necessity, would she have been in error doing that?

    21· A.· ·I do not know if she said that, so I cannot answer

    22· · · ·that question.

    23· Q.· ·Well, I'm allowed to ask you hypotheticals, and I'm

    24· · · ·going based on these notes in the chart here, and I

    25· · · ·showed you three notes.




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    ·1· · · · · · · · · If Kathy had actually said something along

    ·2· · · ·those lines that it's not medically necessary

    ·3· · · ·according to Doctor Kansakar, it's more of a lifestyle

    ·4· · · ·preference, are you saying she was in error telling

    ·5· · · ·that to the jail person?

    ·6· A.· ·No, it's not a life-threatening situation.· As I said,

    ·7· · · ·it's more of a quality of life.

    ·8· Q.· ·Okay.· And the term I used was medically necessary I

    ·9· · · ·think at one point in time because I think I saw that

    10· · · ·in one of the notes, so let me use that term again.

    11· · · · · · · · · If Kathy had told someone from the jail or

    12· · · ·someone from the prison that the reversal of the

    13· · · ·colostomy was a lifestyle preference as opposed to

    14· · · ·medically necessary, would Kathy have told us -- told

    15· · · ·them something that was incorrect?

    16· A.· ·I -- again, it's when you say about medical necessity,

    17· · · ·it also depends upon, like, the psychological

    18· · · ·well-being of a person.

    19· · · · · · · · · So if I was a, if I was a patient, I was,

    20· · · ·you know, I believe he was thirty-four or thirty-five

    21· · · ·at that time, and I did not have any other medical

    22· · · ·conditions which would prohibit me from getting a

    23· · · ·surgery, I would like to have my normal anatomy

    24· · · ·established so that, you know, I don't have to have a

    25· · · ·bag which can potentially leak and cause a problem




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    ·1· · · ·and, you know, potential embarrassment.

    ·2· · · · · · · · · So I would say if you consider the medical

    ·3· · · ·well-being of the person both, like, for psychological

    ·4· · · ·well-being, for being -- feeling well in general, I

    ·5· · · ·think having a colostomy reversal would be much more

    ·6· · · ·preferred than having a colostomy.

    ·7· · · · · · · · · MR. CORBET:· For the record, motion to

    ·8· · · ·strike as being way over what I asked.

    ·9· BY MR. CORBET:

    10· Q.· ·Doctor, my question was a little bit shorter and

    11· · · ·simpler.· If Kathy had told somebody from the jail who

    12· · · ·called or somebody from the prison who called that the

    13· · · ·reversal of the colostomy was a lifestyle preference

    14· · · ·as opposed to a medical necessary procedure, would she

    15· · · ·have been incorrect to tell them that?

    16· · · · · · · · · MR. CROSS:· Objection, asked and answered.

    17· · · · · · · · · But you can answer.

    18· · · · · · · · · THE WITNESS:· Well, I do not, I do not know

    19· · · ·that answer, you know.· Yes, as I said, it's something

    20· · · ·that would be -- it's not a life-threatening

    21· · · ·condition.

    22· · · · · · · · · If she had said that, again, it's a

    23· · · ·hypothetical scenario, and I would prefer not to

    24· · · ·answer hypothetical questions, especially when I

    25· · · ·wasn't the one who gave that answer.




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    ·1· BY MR. CORBET:

    ·2· Q.· ·Right, but we're allowed to ask you hypothetical

    ·3· · · ·questions, and we'll get a chance to ask Kathy

    ·4· · · ·questions and try to connect the dots.

    ·5· · · · · · · · · But at this moment, I still need to ask you

    ·6· · · ·that question.· Would that have been something

    ·7· · · ·incorrect for Kathy to have told the jail or prison or

    ·8· · · ·whoever called and talked to her that the reversal was

    ·9· · · ·not medically necessary but it is a lifestyle

    10· · · ·preference?

    11· A.· ·I think I would say it is medically necessary to have

    12· · · ·the colostomy reversed for the general well-being of

    13· · · ·the patient.

    14· Q.· ·And is there a time limit on when you think that --

    15· · · ·strike that.

    16· · · · · · · · · MR. CORBET:· I'm going to move to strike

    17· · · ·that answer.

    18· BY MR. CROSS:

    19· Q.· ·Would Doctor -- Doctor, would Kathy have been

    20· · · ·incorrect, though, if she told that to the jail

    21· · · ·person?

    22· · · · · · · · · MR. CROSS:· Objection, asked and answered.

    23· BY MR. CORBET:

    24· Q.· ·You can answer the question.· Would Kathy have been

    25· · · ·incorrect to tell that to the jail person that this




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    ·1· · · ·was not medically necessary, it was a lifestyle

    ·2· · · ·preference?

    ·3· A.· ·I think I would agree with the first part which says

    ·4· · · ·it's not medically necessary, but I do not agree with

    ·5· · · ·just the second part that it's just a lifestyle

    ·6· · · ·preference.· It's for the mental and, you know,

    ·7· · · ·psychological well-being to have a normal colostomy, I

    ·8· · · ·mean colostomy reversed and having a natural route

    ·9· · · ·reestablished.

    10· · · · · · · · · MR. CORBET:· Okay.· Thank you.· That's all

    11· · · ·I have.

    12· EXAMINATION BY MR. SCARBER:

    13· Q.· ·Good afternoon again, Doctor Kansakar.· Devlin Scarber

    14· · · ·appearing on behalf of the Corizon defendants, the

    15· · · ·individuals at the -- who provided health care at the

    16· · · ·Michigan Department of Corrections prison.

    17· A.· ·Good afternoon.

    18· Q.· ·I think I mentioned during our break, if you'd be kind

    19· · · ·enough to provide Mr. Oswald with a copy of your CV, I

    20· · · ·guess what we also call a resume, that would be great,

    21· · · ·and he can get that over to us probably shortly after

    22· · · ·you provide it to him, and that will give us a little

    23· · · ·bit more information about your background.

    24· A.· ·That would not be a problem.

    25· Q.· ·Okay.· So thank you.· I sure would appreciate that.




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    ·1· · · · · · · · · I'm just going to follow up on the last

    ·2· · · ·couple of exhibits that the plaintiff -- I'm sorry --

    ·3· · · ·that Mr. Corbet asked you about with respect to those

    ·4· · · ·documentations from Kathy who was -- who you indicated

    ·5· · · ·was your office manager.· And we discussed the fact

    ·6· · · ·that it's -- it was over -- it was four years ago when

    ·7· · · ·these conversations or notes took place.

    ·8· · · · · · · · · Is it fair to say that you're not saying

    ·9· · · ·those conversations didn't happen; you're just saying

    10· · · ·that you can't recall that at this point because now

    11· · · ·it's four years later?

    12· A.· ·I agree.

    13· Q.· ·Okay.

    14· A.· ·It's been four years, and I do not have the

    15· · · ·recollection of all the conversations I've had.

    16· Q.· ·So it could have happened, it couldn't have happened,

    17· · · ·you just don't remember at this point, right?

    18· A.· ·Yes, sir.

    19· Q.· ·Okay.· And with respect to the documentation that was,

    20· · · ·that was done by the jail health care staff as well as

    21· · · ·the prison health care staff, they got documentation

    22· · · ·about a conversation that took place.

    23· · · · · · · · · And as far as you know, you don't have any

    24· · · ·documentation about that, correct?

    25· A.· ·Yeah.· The last -- this is the first time when it was




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    ·1· · · ·shown here at the exhibit that I have seen those two

    ·2· · · ·documents.

    ·3· Q.· ·Right.

    ·4· A.· ·The only communication that I had from my side is the

    ·5· · · ·note that was a typewritten note on Hope Surgical

    ·6· · · ·letterhead from January 24th, and that's all I have in

    ·7· · · ·writing as my reference.

    ·8· Q.· ·Okay.· So the answer to my question would probably be

    ·9· · · ·correct then.· It's fair to say that you have no

    10· · · ·documentation regarding anything that would dispute

    11· · · ·you having such conversations or your office having

    12· · · ·conversations with the jail on January or -- I'm

    13· · · ·sorry -- February 1st of 2017 and again with the

    14· · · ·prison health care professionals on March 29, on or

    15· · · ·around March 29th, 2017, or April 7th, 2017, correct?

    16· A.· ·Correct.

    17· Q.· ·Now, when you performed your original surgery on

    18· · · ·Mr. Jackson back in December of 2016, would you

    19· · · ·consider that that surgery was medically emergent, it

    20· · · ·was absolutely necessary that you had to perform that

    21· · · ·surgery immediately for his well-being?

    22· A.· ·Yes.· I agree that he needed that surgery sooner than

    23· · · ·later.

    24· Q.· ·And he needed it as soon as possible, correct?

    25· A.· ·Yes, because he was having -- from what I understand,




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    ·1· · · ·he had a communication or a fistula between his colon

    ·2· · · ·and the bladder, as a result of which the stool was

    ·3· · · ·leaking into the bladder, and he was having urinary

    ·4· · · ·tract infection.

    ·5· Q.· ·And when you performed that particular procedure on

    ·6· · · ·him on December 10th of 2016, there were risks

    ·7· · · ·associated with that procedure, right, even though it

    ·8· · · ·was an emergency kind of situation or a medically

    ·9· · · ·necessary kind of situation, right?

    10· A.· ·Could you repeat that question, please?

    11· Q.· ·When you performed that colostomy surgery that you

    12· · · ·performed on him back in December 10th of 2016, there

    13· · · ·were risks and complications that could have resulted

    14· · · ·from that surgery even though he needed it.· There

    15· · · ·were risks that were facing him potentially, correct?

    16· A.· ·Correct.

    17· Q.· ·And you advised him of those risks, correct?

    18· A.· ·I think that was -- that would be part of my

    19· · · ·discussion with him.

    20· Q.· ·Okay.· Let me move around a little bit here, Doctor.

    21· · · ·I apologize.· If there's a delay on my end, it's

    22· · · ·because I'm trying to use my screen that's not

    23· · · ·necessarily connected to my computer.· I'm on a cloud,

    24· · · ·so give me a minute.· If there are any delays, I

    25· · · ·apologize in advance here because I've got to do




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    ·1· · · ·scrolling.

    ·2· · · · · · · · · MR. CORBET:· Devlin, is any of the records

    ·3· · · ·I had up there do you want me to pop up for you?

    ·4· · · · · · · · · MR. SCARBER:· No, no.· I've got some other

    ·5· · · ·stuff.

    ·6· · · · · · · · · MR. CORBET:· All right.· No problem.

    ·7· · · · · · · · · MR. SCARBER:· And I'm getting it together.

    ·8· · · ·I think once I get rolling, I'll be good.

    ·9· BY MR. SCARBER:

    10· Q.· ·Doctor, are you able to see this note on the screen?

    11· A.· ·Yes, I do.

    12· Q.· ·Okay.· And this is explaining the risk of anesthesia.

    13· · · · · · · · · Now, I understand you performed -- what was

    14· · · ·that surgery you performed on him on December the 10th

    15· · · ·of 2016?· What was the name of that?

    16· A.· ·It's called a sigmoid colectomy.

    17· Q.· ·Okay.· And there are risks associated with that

    18· · · ·particular procedure, correct?

    19· A.· ·Correct.

    20· Q.· ·And I've just highlighted one of the risks, and one of

    21· · · ·the risks is anesthesia, correct?

    22· A.· ·Correct.

    23· Q.· ·And are you able to see this on your screen again?

    24· A.· ·Yes.

    25· Q.· ·Okay.· And I think it indicates here that some of




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    ·1· · · ·those complications with anesthesia are possibility of

    ·2· · · ·infection, bleeding, drug reaction, blood clots, loss

    ·3· · · ·of sensation, loss of limb function, paralysis,

    ·4· · · ·stroke, brain damage, heart attack, and death.

    ·5· · · · · · · · · Did I just read those correctly?

    ·6· A.· ·Yes.

    ·7· Q.· ·And those are the things that are explained to the

    ·8· · · ·patient before he has a procedure like that, right?

    ·9· A.· ·Correct.

    10· Q.· ·And that's just with anesthesia, but there's also

    11· · · ·risks just associated with the surgery, period, and

    12· · · ·here it indicates that -- are you able to see my

    13· · · ·screen?

    14· A.· ·Yes, sir.

    15· Q.· ·Here it indicates that these operations and procedures

    16· · · ·carry the risk of unsuccessful results, complications,

    17· · · ·injury, or even death.

    18· · · · · · · · · That's correct, right?

    19· A.· ·Yes, sir.

    20· Q.· ·And those are possibilities that can happen with these

    21· · · ·surgeries, correct?

    22· A.· ·Yes, sir.

    23· Q.· ·And, in fact, you're so concerned about those

    24· · · ·particular type of things occurring that you actually

    25· · · ·have the patient sign an informed consent indicating




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    ·1· · · ·that he's aware that those things could happen, right?

    ·2· A.· ·Yes.

    ·3· Q.· ·Give me one second here.· In a perfect world, I would

    ·4· · · ·have just photocopied each page and just had it

    ·5· · · ·simpler so I didn't have to do all this scrolling.

    ·6· · · · · · · · · I think I'm on your operative report, but I

    ·7· · · ·want to go to a specific page here.

    ·8· · · · · · · · · Now, this is from your operative report in

    ·9· · · ·December of 2016, and can you see what I've kind of

    10· · · ·highlighted right there?

    11· A.· ·Yes, sir.

    12· Q.· ·And it indicates that even in your -- not just the

    13· · · ·hospital forms that the patient signed but it also

    14· · · ·appears that even in your operative report, you double

    15· · · ·document that you explained the risks and dangers

    16· · · ·associated with the procedure that you performed,

    17· · · ·correct?

    18· A.· ·Yes, sir.

    19· Q.· ·And you indicate here that the risks and potential

    20· · · ·complications could be bleeding, infection,

    21· · · ·inadvertent urethral injury.· Patient elected to

    22· · · ·undergo an open sigmoid colectomy but not before you

    23· · · ·put in here what the risk could be, right?

    24· A.· ·I'm sorry.· Could you explain -- restate the question?

    25· Q.· ·Yeah.· You explained these risks to him, correct?




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    ·1· A.· ·Yes, I did.

    ·2· Q.· ·All right.· And before you would perform this surgery,

    ·3· · · ·he had to understand these risks and be aware that

    ·4· · · ·these things could happen, correct?

    ·5· A.· ·Yes.· That would be part of my practice to explain

    ·6· · · ·that to my patients.

    ·7· Q.· ·And you're not just making this stuff up, right?

    ·8· · · ·Something has told you that these things can happen,

    ·9· · · ·and that's why you're informing them, right?

    10· A.· ·Yes, sir.

    11· Q.· ·Now, I understand that you indicated that you had a

    12· · · ·plan to -- you had established a plan of care for

    13· · · ·Mr. Jackson, and I understand that that was based upon

    14· · · ·certain things that you wanted to do, particularly in

    15· · · ·your practice, correct?

    16· A.· ·Yes, that's correct.

    17· Q.· ·As per what your practice is, right?

    18· A.· ·Correct.

    19· Q.· ·Not anybody else's practice but per what your practice

    20· · · ·is, right?

    21· A.· ·I do not know about other's practice, but that's how I

    22· · · ·was trained to wait for about six to eight weeks to

    23· · · ·minimize any swelling and infection and then put the

    24· · · ·patient or put the colostomy back together.

    25· Q.· ·And I'm just going back to your testimony as well as




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    ·1· · · ·your letter, and your testimony was very clear when we

    ·2· · · ·started this deposition that it's your practice to do

    ·3· · · ·that.· Your letter even said my practice or my

    ·4· · · ·standard is to do that.

    ·5· · · · · · · · · You're talking about -- what you're talking

    ·6· · · ·about is what you do, correct, not necessarily what

    ·7· · · ·everybody else does, right?

    ·8· A.· ·Yes, sir.

    ·9· Q.· ·Okay.

    10· · · · · · · · · MR. CROSS:· Objection, mischaracterizes the

    11· · · ·exhibit.

    12· BY MR. SCARBER:

    13· Q.· ·And, in fact, when you -- I've got to ask you, do you

    14· · · ·have a chart in front of you?

    15· A.· ·Patient's chart, yes, the medical records.

    16· Q.· ·Okay.· And what exactly do you have in front of you?

    17· · · ·Is that something that you got from the medical

    18· · · ·office, or what do you have in front of you?

    19· A.· ·So I have my office notes, the operative report, and I

    20· · · ·have a letter that was written on the Hope Surgical

    21· · · ·Services letterhead dated January 24th and then a

    22· · · ·handwritten note dated 12-27.

    23· Q.· ·Okay.· So let's go to your -- do you have your records

    24· · · ·from your post-op records where you treated

    25· · · ·Mr. Jackson?




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    ·1· A.· ·Yes, I have access to my post-op records when I saw

    ·2· · · ·him after surgery.

    ·3· Q.· ·Okay.· So the first time you saw Mr. Jackson after

    ·4· · · ·surgery, would that have been December 27th, 2016?

    ·5· A.· ·Let me check real quick.

    ·6· · · · · · · · · Yes, December 27, 2016.

    ·7· Q.· ·Okay.· Is this your record here?

    ·8· A.· ·Yes.

    ·9· Q.· ·Okay.· This should be -- this is probably what you

    10· · · ·have in front of you.

    11· · · · · · · · · I know we've got three attorneys here, and

    12· · · ·I think we've all gotten records, and some of them

    13· · · ·might -- I think they all say the same thing on them,

    14· · · ·but maybe they've got a line or two here that's

    15· · · ·different or one line is on page five instead of page

    16· · · ·six.· I don't know how they print them out, but I

    17· · · ·think we've got the same documents here.

    18· · · · · · · · · So this is your December 27th visit in

    19· · · ·2016.

    20· A.· ·Uh-huh.· Yes, sir.

    21· Q.· ·And you note that his ostomy is pink and productive,

    22· · · ·right?

    23· A.· ·Correct.

    24· Q.· ·And I seem to remember that they talked about -- this

    25· · · ·is based upon prior, prior experience I've got with




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    ·1· · · ·colostomies, but there's, like, three Ps in ostomy

    ·2· · · ·care, right?· Have you ever heard that?

    ·3· A.· ·The three Ps?· I'm not quite sure, sir.

    ·4· Q.· ·Pink, patent, and productive.

    ·5· A.· ·Okay.· Yes.

    ·6· Q.· ·It doesn't matter.· If you haven't heard of it, you

    ·7· · · ·haven't heard of it.

    ·8· · · · · · · · · But you say it's pink and productive,

    ·9· · · ·right?

    10· A.· ·Correct.

    11· Q.· ·And it's got no problems and no problems with

    12· · · ·functioning, right?

    13· A.· ·Not according to my note.

    14· Q.· ·And you've got written in here no new complaints,

    15· · · ·right?

    16· A.· ·Correct.

    17· Q.· ·That means the patient wasn't complaining to you about

    18· · · ·anything, right?

    19· A.· ·No new complaints at that point, correct.

    20· Q.· ·All right.· Functional colostomy, correct?

    21· A.· ·Correct.

    22· Q.· ·You see him again on 1-10, January 10, 2017, right?

    23· A.· ·Yes, that was my office note from January 10, 2017.

    24· Q.· ·When you see him on January 10th, 2017, his colostomy

    25· · · ·was functioning fine, right?




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    ·1· A.· ·Yeah.· It says colostomy was pink and productive.

    ·2· Q.· ·Even -- he was even -- even when you did a, you did a

    ·3· · · ·physical examination on him, he was able to stand and

    ·4· · · ·walk properly, correct?

    ·5· A.· ·Yes, I believe so.· It doesn't -- as per my note,

    ·6· · · ·there was nothing that says he wasn't able to walk.

    ·7· Q.· ·And at that point he was not having any issues that

    ·8· · · ·you recorded in your report, correct?

    ·9· A.· ·Correct.· As per my note, you know, pain was well

    10· · · ·controlled, and some drainage was noted from the

    11· · · ·incision.

    12· Q.· ·Is there anything indicating here that his colostomy

    13· · · ·was not functional?

    14· A.· ·No, sir.

    15· Q.· ·All right.· In fact, you said it was, right?

    16· A.· ·Correct.

    17· Q.· ·Is there anything in here, Doctor, where you have

    18· · · ·anything noted about this particular patient

    19· · · ·complaining about he wants a reversal or he absolutely

    20· · · ·has to have a reversal and he's discussing that with

    21· · · ·you and discussing anything in detail about how this

    22· · · ·is affecting him and all that kind of stuff?· I didn't

    23· · · ·see anything, but you tell me.· Is there anything in

    24· · · ·here?

    25· A.· ·Not that I can see.




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    ·1· Q.· ·You certainly didn't document anything like that,

    ·2· · · ·right?

    ·3· A.· ·Correct.· Again, I did not document that.

    ·4· Q.· ·And that, I mean, concerns that are important that you

    ·5· · · ·get from a patient you document, right?

    ·6· A.· ·Yes.

    ·7· Q.· ·Okay.· And this was the last visit that you actually

    ·8· · · ·saw Mr. Jackson, January 10th, 2017, correct?

    ·9· A.· ·Yeah.· That's the last note I have from the medical

    10· · · ·records, so I believe that's the last time I saw him.

    11· Q.· ·And I know you had indicated a plan, you know, your

    12· · · ·plan that you wanted to do or were anticipating doing

    13· · · ·a reversal, but I didn't see any note where you

    14· · · ·specifically explained anything about a reversal to

    15· · · ·Mr. Jackson.

    16· A.· ·I think there was a handwritten note from

    17· · · ·December 7 -- excuse me -- December 27th which laid

    18· · · ·out a plan for surgery.· It's a handwritten note on my

    19· · · ·office letterhead.· That was part of my -- of the

    20· · · ·medical records that was given to me.

    21· Q.· ·Did you discuss anything with him on January 10th, the

    22· · · ·next time you saw him?

    23· A.· ·I do not know that, sir, because it's not in my

    24· · · ·medical records, and I do not remember what happened

    25· · · ·on that day.




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    ·1· Q.· ·Okay.· And the note you're referencing from

    ·2· · · ·December 27th on your letterhead, is that a discussion

    ·3· · · ·you had with Mr. Jackson, or is that just some notes

    ·4· · · ·that you had written down about a potential plan?

    ·5· A.· ·No.· This is what I discussed with the patient I

    ·6· · · ·believe.· This is, you know, this is a documentation.

    ·7· · · ·So I'm very much sure that I discussed this with the

    ·8· · · ·patient.

    ·9· Q.· ·But nothing on January 10th, the last time you saw

    10· · · ·him?

    11· A.· ·Yeah.· I don't see any, like, repetition of those

    12· · · ·reports.· I do see that, you know, there's a colostomy

    13· · · ·reversal planned for February 9th.

    14· Q.· ·Okay.· This, this colostomy reversal plan for February

    15· · · ·9th of 2017, was that a date?· Who picked that date?

    16· · · ·How did that date even come about, do you know?

    17· A.· ·The index surgery or the first surgery was on 12-10 I

    18· · · ·believe, and, again, after the surgery is done, I wait

    19· · · ·about six to eight weeks to let all the infection, the

    20· · · ·inflammation, swelling, scarring to settle down.

    21· · · · · · · · · So eight weeks from that would put us in

    22· · · ·February, and that's how I chose that tentative date

    23· · · ·to -- depending upon my schedule, the OR availability

    24· · · ·to choose a date.

    25· Q.· ·Okay.· I got it.· I think I understand this.




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    ·1· · · · · · · · · So this date you put in here was really

    ·2· · · ·just some calculation that you had from the time you

    ·3· · · ·had done the original surgery, right?

    ·4· A.· ·So, yes.· Again, I would generally wait for six to

    ·5· · · ·eight weeks after this kind of surgery to start to do

    ·6· · · ·the second surgery because trying to go any time

    ·7· · · ·earlier than that would cause a lot of swelling and

    ·8· · · ·potentially more harm than or injury because of the,

    ·9· · · ·you know, the adhesions or scar tissues.

    10· · · · · · · · · So six to eight weeks' time, make sure that

    11· · · ·the scars are not as bad, and second surgery is going

    12· · · ·to be done more easier.

    13· Q.· ·Right.

    14· · · · · · · · · And I think I'm just asking you, though,

    15· · · ·and you might have answered it, but just my simple

    16· · · ·question is this date is a date it sounds like that

    17· · · ·you just selected based upon your calculation of when

    18· · · ·he would heal and when you thought he could do a

    19· · · ·surgery, right?

    20· A.· ·Correct.

    21· Q.· ·Okay.· You never spoke with the individual health care

    22· · · ·professionals at the Michigan Department of

    23· · · ·Corrections about this or Corizon or any of the health

    24· · · ·care professions there, correct?

    25· A.· ·I do not recall.




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    ·1· Q.· ·Well, let me just tell you this.· He wasn't even in

    ·2· · · ·prison at that time in February 9th, 2017.· He wasn't

    ·3· · · ·even there yet, so you obviously didn't discuss this

    ·4· · · ·with them, correct?

    ·5· A.· ·I don't think so, sir, but I do not have any notes to

    ·6· · · ·refer to that.· So I do not know the answer to that.

    ·7· · · ·I don't recall any conversations.

    ·8· Q.· ·So assuming that he doesn't even get to the Michigan

    ·9· · · ·Department of Corrections until March, late March of

    10· · · ·2017, then you would agree that this was never a plan

    11· · · ·that you communicated to the health care professionals

    12· · · ·at the prison, right, assuming that he wasn't even

    13· · · ·there yet, correct?

    14· A.· ·I do not know, like, how, how or where he was housed

    15· · · ·during this time, you know.

    16· · · · · · · · · I kind of laid out my plan as per the

    17· · · ·medical records, you know.· Everything that I did is

    18· · · ·in the medical records, and, you know, the plan was to

    19· · · ·do a colostomy reversal with a tentative date of

    20· · · ·February 9th.

    21· Q.· ·Doctor, I don't want to interrupt you, but I think you

    22· · · ·might have almost answered my question but not quite

    23· · · ·answered it, and I don't want to cut you off because I

    24· · · ·think I got the response to the end of your answer

    25· · · ·there already.




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    ·1· · · · · · · · · But my question is assuming that

    ·2· · · ·Mr. Jackson was not even in prison in February of

    ·3· · · ·2017, then this particular date that you came up with

    ·4· · · ·in December or January is obviously not something that

    ·5· · · ·you could have discussed with him because he wasn't

    ·6· · · ·even there yet.

    ·7· · · · · · · · · You would agree with that, right?

    ·8· A.· ·I'm sorry.· I don't think I understand the

    ·9· · · ·hypothetical situation.

    10· Q.· ·The hypothetical is you apparently wrote a note in

    11· · · ·your record indicating a reversal for February 9th of

    12· · · ·2017.

    13· · · · · · · · · Now, if Mr. Jackson was not even in prison

    14· · · ·until after March of 2017, then you would agree that

    15· · · ·you never discussed the February 9th, 2017, date with

    16· · · ·the prison?· It's just a simple question.

    17· A.· ·Yeah.· If he wasn't in the prison, then I guess, like,

    18· · · ·I wouldn't have discussed that.

    19· Q.· ·Okay.

    20· A.· ·It could be any other, like, a patient who would come

    21· · · ·to my office, and I would discuss the plan with the

    22· · · ·patient.

    23· Q.· ·Okay.· Now, we know that Mr. Jackson ultimately

    24· · · ·underwent a reversal surgery on June 9th, June 19th of

    25· · · ·2019.




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    ·1· · · · · · · · · My question for you is did you ever discuss

    ·2· · · ·any of the risks and complications that could arise

    ·3· · · ·from a reversal surgery with Mr. Jackson?

    ·4· A.· ·I believe I did, but, again, I'll have to refer to my

    ·5· · · ·notes, and I do not recall, like, anything in

    ·6· · · ·particular.

    ·7· Q.· ·Do your notes indicate that just like your prior notes

    ·8· · · ·from the hospital where you were telling him, you

    ·9· · · ·know, that you were going to proceed with the surgery

    10· · · ·and you discussed the risks, benefits, and

    11· · · ·complications of the procedure for the procedure that

    12· · · ·occurred in December.

    13· · · · · · · · · Do your notes in any way from the Hope

    14· · · ·Surgical Services or anyplace you saw him as far as

    15· · · ·you know indicate that you had such discussions with

    16· · · ·him for a potential reversal surgery in February of

    17· · · ·2017?

    18· A.· ·Yes, there is a date mentioned that there is, you

    19· · · ·know, that's the tentative date for surgery, and I

    20· · · ·believe it mentions in my operative report that I had

    21· · · ·the discussion, but I may not have documented that in

    22· · · ·my office note.

    23· Q.· ·Well, let me -- my question might have been confusing.

    24· · · ·You never got to the -- there was never a reversal

    25· · · ·surgery done by you in February, so there is no




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    ·1· · · ·operative report regarding that.

    ·2· · · · · · · · · What I want to know is if any of your

    ·3· · · ·office notes where you saw him specifically discuss

    ·4· · · ·the risks and complications that could arise from a

    ·5· · · ·reversal surgery.

    ·6· A.· ·There's no documentation that I can see in my notes.

    ·7· Q.· ·And if you were -- when you get ready to perform a

    ·8· · · ·surgery, you actually do document that in your notes,

    ·9· · · ·right?· Because I saw one in the December 2016 notes.

    10· A.· ·Yes, but, yes, that's true, I would have documented,

    11· · · ·but probably it could be that I was waiting or

    12· · · ·anticipating another meeting, office meeting with him

    13· · · ·just, like, closer to the surgery date to kind of go

    14· · · ·over the instructions again, to explain everything in

    15· · · ·detail.· So that could have been a potential plan.

    16· Q.· ·Right.

    17· · · · · · · · · So I guess what I'm saying is although you

    18· · · ·had planned to do a surgery, you didn't really

    19· · · ·complete all of the normal protocols that you would

    20· · · ·have actually done in order to actually definitively

    21· · · ·say that that surgery was going to happen, correct?

    22· A.· ·Well, I had plan for sure.· I had, you know, surgical

    23· · · ·date chosen.· So I would say I had, like, a plan for

    24· · · ·colostomy reversal.

    25· · · · · · · · · I had -- as per my note, I had mentioned




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    ·1· · · ·that he needs antibiotics one day before surgery.              I

    ·2· · · ·had, you know, plan for him to drink the prep for the

    ·3· · · ·colostomy reversal at 7:00 a.m. the day before

    ·4· · · ·surgery.· I had instructed him to use, like, bath

    ·5· · · ·scrubs, special soap scrub.· So I was kind of -- I had

    ·6· · · ·done my part in terms of preparing for the second

    ·7· · · ·surgery.

    ·8· Q.· ·But you hadn't gotten around to doing all of the

    ·9· · · ·things that you would normally do if you were going to

    10· · · ·perform a surgery, correct?

    11· · · · · · · · · For instance, we don't have any

    12· · · ·documentation of you actually discussing the risks and

    13· · · ·complications and benefits of the procedure like we

    14· · · ·have in your previous records, and you also wanted a

    15· · · ·barium enema to be done.

    16· · · · · · · · · So you were still waiting on tests,

    17· · · ·correct?

    18· A.· ·Yes.· I was still waiting for the workup to be

    19· · · ·completed at that time, yes.

    20· Q.· ·Right.

    21· · · · · · · · · And it hadn't been completed as of February

    22· · · ·of 2019 as far as you know, correct?

    23· A.· ·Well, from what I --

    24· Q.· ·Doctor, my question is -- let me strike that.· My

    25· · · ·question's bad.




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    ·1· · · · · · · · · MR. CROSS:· Let her answer the question.

    ·2· · · · · · · · · MR. SCARBER:· But it was an improper

    ·3· · · ·question, and that's why she's having trouble

    ·4· · · ·answering.

    ·5· BY MR. SCARBER:

    ·6· Q.· ·What I should say is as of January 10th, 2017, when

    ·7· · · ·you last saw him, there was still things you were

    ·8· · · ·waiting on in terms of the final workup before you

    ·9· · · ·actually would have performed the surgery, correct?

    10· A.· ·Yes.

    11· Q.· ·Okay.· And it's my understanding that with reversal

    12· · · ·surgeries, there is also significant risk, right, with

    13· · · ·colostomy reversal surgeries?

    14· A.· ·Yes.

    15· Q.· ·And, in fact, when he had his surgery done in June of

    16· · · ·2019, it looks like some of that stuff is discussed.

    17· · · ·Here's the operative report from the doctor who

    18· · · ·performed the reversal surgery, and I have highlighted

    19· · · ·here, it says:· The patient was made aware of risks

    20· · · ·and benefits of the procedure, including but not

    21· · · ·limited to the risk of heart attack, stroke, death,

    22· · · ·infection, the potential need for reoperation and the

    23· · · ·potential for a leak or potential for damage to

    24· · · ·surrounding structures including the ureter and

    25· · · ·genitourinary system.· I probably pronounced that word




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    ·1· · · ·wrong.

    ·2· · · · · · · · · But do you see that?

    ·3· A.· ·Yes, sir.

    ·4· Q.· ·And these are real things that can occur, correct?

    ·5· A.· ·Yes, sir.

    ·6· Q.· ·And that's why the doctors explain these things to the

    ·7· · · ·patient before they perform these procedures, right,

    ·8· · · ·so that they're aware that these are things and

    ·9· · · ·complications and risks that can occur, right?

    10· A.· ·Yes, sir.

    11· Q.· ·Now, it also notes in this record, it indicates that

    12· · · ·the doctor is recognizing the fact that you performed

    13· · · ·a procedure on him on December 10th, 2016, your

    14· · · ·exploratory laparotomy with sigmoid colectomy and

    15· · · ·Hartmann's procedure.· It indicates that the urologist

    16· · · ·also fixed his urinary bladder.

    17· · · · · · · · · And it says here, can you read that for me?

    18· A.· ·He now has no issues.

    19· Q.· ·All right.· And he didn't have any issues when you saw

    20· · · ·him last on January 10th, 2017, with respect to the

    21· · · ·functioning of his colostomy, correct?

    22· A.· ·Yes, sir.

    23· Q.· ·Am I correct in that?

    24· A.· ·Yes, sir, you are correct.

    25· Q.· ·And he didn't have any issues on June --




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    ·1· A.· ·I'm sorry.· I didn't get that last part.

    ·2· Q.· ·And he also didn't have any issues, at least according

    ·3· · · ·to the surgeon, on June 19th, 2019, right?

    ·4· A.· ·As per --

    ·5

    ·6· · · · · · · · · MR. OSWALD:· Objection with respect to it's

    ·7· · · ·calling Doctor Kansakar to testify regarding another

    ·8· · · ·doctor's note.· She didn't treat.

    ·9· · · · · · · · · MR. SCARBER:· Okay.· No speaking

    10· · · ·objections.

    11· · · · · · · · · What's your objection?

    12· · · · · · · · · MR. OSWALD:· That it's not within her

    13· · · ·knowledge of what the note was at that time.

    14· · · · · · · · · MR. SCARBER:· So calls for speculation and

    15· · · ·foundation.· I got it.

    16· BY MR. SCARBER:

    17· Q.· ·Per this note, this note is dated surgery as June

    18· · · ·19th, 2019, correct?

    19· A.· ·Yes, sir.

    20· Q.· ·And in this particular note, I just read it to you,

    21· · · ·it's highlighted here, he has no issues, correct?

    22· A.· ·Yes, it's written as he has no issues.

    23· Q.· ·Okay.· Now, we talked about complications and medical

    24· · · ·risks associated with surgeries, particularly your

    25· · · ·first colostomy -- I'm sorry -- your initial colostomy




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    ·1· · · ·surgery as well as a reversal surgery.

    ·2· · · · · · · · · I want to take you to a document that was

    ·3· · · ·filed with the court by the plaintiffs in this

    ·4· · · ·particular case, and this is a document called

    ·5· · · ·UpToDate.

    ·6· · · · · · · · · And you're familiar with UpToDate?

    ·7· A.· ·Yes, I am.

    ·8· Q.· ·And this document was filed as ECF number 12-6, page

    ·9· · · ·ID 227.

    10· · · · · · · · · And it indicates -- can you read this to

    11· · · ·yourself here, what's highlighted?

    12· A.· ·Subsequent closure of the colostomy is a technically

    13· · · ·difficult operation associated with higher -- this is

    14· · · ·kind of hidden here.

    15· · · · · · · · · Could you move the screen?· It's kind of

    16· · · ·hidden behind the --

    17· Q.· ·Oh, I'm sorry.

    18· · · · · · · · · MR. CORBET:· You might want to scroll down

    19· · · ·so it will be at the bottom margin.

    20· · · · · · · · · THE WITNESS:· I'm just going to move my

    21· · · ·screen a little bit.

    22· BY MR. SCARBER:

    23· Q.· ·Are you having difficulty reading it?

    24· A.· ·The videos are kind of blocking the text.

    25· Q.· ·How about, how about there, better?




                                                                                    YVer1f
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    ·1· A.· ·Thank you.

    ·2· Q.· ·Okay.

    ·3· A.· ·It says:· Subsequent closure of the colostomy is a

    ·4· · · ·technically difficult operation associated with high

    ·5· · · ·morbidity and mortality rates.· As a result, colostomy

    ·6· · · ·closure is only performed in approximately fifty to

    ·7· · · ·sixty percent of all patients after a Hartmann

    ·8· · · ·procedure.

    ·9· Q.· ·And you did a Hartmann's procedure, correct?

    10· A.· ·Yes, sir, I did.

    11· Q.· ·And how about this one that I'm going to show you

    12· · · ·here, starting here.

    13· A.· ·In a retrospective administrative database study of

    14· · · ·sixteen sixty patients who underwent Hartmann

    15· · · ·procedure for diverticulitis, only twenty-eight point

    16· · · ·three percent underwent colostomy reversal within a

    17· · · ·year.· Outcomes of the reversal surgery were not

    18· · · ·influenced by the time lapse from the index operation.

    19· · · ·The optimal timing of colostomy reversal remains

    20· · · ·undefined and at the discretion of the surgeon.

    21· Q.· ·Now, you don't disagree with that medical literature,

    22· · · ·do you?

    23· A.· ·No, I do not disagree, but, again, it's quoted only

    24· · · ·one study, so I do not know if that's, like, that's

    25· · · ·the -- I'm sure there are other studies kind of giving




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    ·1· · · ·more information.· So it looks like one study there,

    ·2· · · ·and it references --

    ·3· Q.· ·It actually quotes about three studies.

    ·4· A.· ·I see.

    ·5· Q.· ·Each one of these items here is a particular study.

    ·6· · · ·Let me go down.· So we've got 21, 22, 23, and 24.

    ·7· · · ·Hang on a minute.· Let me see if I can go down it.

    ·8· · · · · · · · · Well, let me just ask you this to save some

    ·9· · · ·time here.· What this basically says, these different

    10· · · ·studies that it's talking about, is basically saying

    11· · · ·that there can be differences of opinion, differences

    12· · · ·of opinions amongst doctors regarding colostomy

    13· · · ·reversal, right, whether we do it, the timing of when

    14· · · ·it can be done, things like that, correct?

    15· A.· ·Yes, sir.

    16· Q.· ·And you don't disagree with that, right?

    17· A.· ·No, I do not disagree with that.

    18· Q.· ·Okay.

    19· A.· ·Could I take another break?

    20· Q.· ·Yes.

    21· A.· ·Thank you.· For five minutes, please?

    22· · · · · · · · · THE VIDEOGRAPHER:· We're going off the

    23· · · ·record at 2:35 p.m.

    24· · · · · · · · · (Off the record at 2:35 p.m.)

    25· · · · · · · · · (Back on the record at 2:44 p.m.)




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    ·1· · · · · · · · · THE VIDEOGRAPHER:· We are back on the

    ·2· · · ·record at 2:44 p.m.

    ·3· BY MR. SCARBER:

    ·4· Q.· ·Doctor, just to follow up with you regarding what we

    ·5· · · ·were talking about when we last left off, here are

    ·6· · · ·some of those articles that were filed or that were

    ·7· · · ·referenced in a court filing.

    ·8· · · · · · · · · Are you able to see my screen?

    ·9· A.· ·Yes, sir.

    10· Q.· ·Okay.· One of the articles being What Proportion of

    11· · · ·Patients with an Ostomy for Diverticulitis Get

    12· · · ·Reversed, another one being Restoration of Bowel

    13· · · ·Continuity After Surgery for Acute Perforated

    14· · · ·Diverticulitis:· Should Hartmann's Procedure be

    15· · · ·Considered a One-Stage Procedure, Feasibility and

    16· · · ·Morbidity of Reversal of Hartmann's, so Avoiding or

    17· · · ·Reversing Hartmann's Procedures.

    18· · · · · · · · · So there's a number of articles that would

    19· · · ·seem to indicate that it's certainly within a

    20· · · ·particular medical provider's medical judgment as to

    21· · · ·what they are going to do or what they think is

    22· · · ·appropriate for a particular patient, correct?

    23· A.· ·Correct, sir.

    24· Q.· ·And you don't disagree with that, right?

    25· A.· ·I do not disagree with that.




                                                                                    YVer1f
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    ·1· Q.· ·When you're going to do a reversal, essentially what

    ·2· · · ·you're trying to do is alter or adjust the patient's

    ·3· · · ·body or their body structure, right, back to what it

    ·4· · · ·was, correct?

    ·5· A.· ·Yes, sir.

    ·6· Q.· ·I mean, you're trying to put a patient back in some

    ·7· · · ·kind of original way, correct?

    ·8· A.· ·Correct.· The goal is to establish the natural

    ·9· · · ·continuity.

    10· Q.· ·And it's reconstructive in the sense that you're

    11· · · ·trying to reform the body structure back to how it was

    12· · · ·previously in terms of what you indicated in terms of

    13· · · ·how to have their waste excreted in the original way,

    14· · · ·correct?

    15· A.· ·Yes, sir.

    16· · · · · · · · · MR. SCARBER:· Doctor Kansakar, I don't

    17· · · ·think I have anything further.· I want to thank you

    18· · · ·for your time.

    19· · · · · · · · · THE WITNESS:· Thank you, sir.

    20· · · · · · · · · MR. CROSS:· I have a little bit of

    21· · · ·redirect.

    22· REEXAMINATION BY MR. CROSS:

    23· Q.· ·Doctor Kansakar, I believe you --

    24· · · · · · · · · MR. CORBET:· Is anybody else there, Ian?              I

    25· · · ·thought we ought to identify everybody in the room.




                                                                                    YVer1f
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    ·1· · · · · · · · · MR. CROSS:· Yes.· Larry Margolis is here.

    ·2· · · · · · · · · MR. MARGOLIS:· Good afternoon, people.              I

    ·3· · · ·identified myself with the court reporter.             I

    ·4· · · ·apologize if I didn't let you know.· Mr. Margolis,

    ·5· · · ·Larry Margolis.

    ·6· BY MR. CROSS:

    ·7· Q.· ·Doctor Kansakar, I believe you testified about some

    ·8· · · ·risks that are associated with the procedure to place

    ·9· · · ·the ostomy, is that correct?

    10· A.· ·Could you, could you reframe the question again?

    11· Q.· ·Are there risks associated with the Hartmann's

    12· · · ·procedure?

    13· A.· ·Yes, there are.

    14· Q.· ·Are there risks associated with a colostomy takedown?

    15· A.· ·Yes, there are.

    16· Q.· ·Are there risks associated with every surgical

    17· · · ·procedure that involves general anesthesia?

    18· A.· ·Yes, there are.

    19· Q.· ·Do you recommend a surgery when you believe the risks

    20· · · ·of the surgery outweigh the benefits to the patient?

    21· A.· ·No, I do not.

    22· · · · · · · · · MR. SCARBER:· I'm just going to place an

    23· · · ·objection to relevance and foundation.

    24· BY MR. CROSS:

    25· Q.· ·I believe you testified before that you performed




                                                                                    YVer1f
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    ·1· · · ·perhaps a hundred ostomy placements in your career?

    ·2· A.· ·That's a rough estimate.· I do not know the exact

    ·3· · · ·number.

    ·4· Q.· ·And did you testify that Mr. Jackson was thirty-four

    ·5· · · ·years old at the time you placed his ostomy?

    ·6· A.· ·I believe as per his date of birth which is 2-5, 1982,

    ·7· · · ·he would have been thirty-four years old at that time.

    ·8· Q.· ·And I believe you testified he had no other medical

    ·9· · · ·complications that would make reversal especially

    10· · · ·difficult or contraindicated, is that correct?

    11· · · · · · · · · MR. SCARBER:· I'm just going to place an

    12· · · ·objection to asked and answered and leading.

    13· BY MR. CROSS:

    14· Q.· ·You may answer.

    15· A.· ·The patient did not have any other medical

    16· · · ·comorbidities that would make him high risk for

    17· · · ·colostomy reversal.

    18· Q.· ·Do many of the patients you have placed an ostomy in

    19· · · ·have comorbidities?

    20· A.· ·Some patients do have comorbidities.

    21· · · · · · · · · I'm sorry.· Sorry about that.

    22· Q.· ·How does Mr. Jackson's age compare to the ages of most

    23· · · ·of the patients you perform this procedure on?

    24· · · · · · · · · MR. SCARBER:· I'm just going to place an

    25· · · ·objection now to outside, completely outside the scope




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    ·1· · · ·of my redirect, my direct or my redirect as well as

    ·2· · · ·Mr. Corbet's.

    ·3· · · · · · · · · MR. CORBET:· Join.

    ·4· BY MR. CROSS:

    ·5· Q.· ·Go ahead.

    ·6· A.· ·So generally diverticulitis is a condition in older

    ·7· · · ·age group, usually sixty or higher age group.· He is a

    ·8· · · ·younger individual getting this condition at age

    ·9· · · ·thirty-four.

    10· Q.· ·So would it be fair to say that most of the

    11· · · ·individuals you placed an ostomy in are older and

    12· · · ·sicker than Mr. Jackson?

    13· A.· ·Yes.

    14· · · · · · · · · MR. SCARBER:· Foundation.

    15· BY MR. CROSS:

    16· Q.· ·Okay.· Go ahead.

    17· A.· ·Sorry.· So generally they are older patients than

    18· · · ·Mr. Jackson, not necessarily always sicker.

    19· Q.· ·Okay.· And is it more difficult to reverse a colostomy

    20· · · ·in an older patient typically?

    21· A.· ·I do not think technically it is a difficult procedure

    22· · · ·to reverse the ostomy in an older individual.

    23· · · · · · · · · However, in an older individual, they do

    24· · · ·have -- they do tend to have more medical

    25· · · ·comorbidities like a heart condition or a lung




                                                                                    YVer1f
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    ·1· · · ·condition which can be challenging for the

    ·2· · · ·postoperative or intraoperative care.

    ·3· Q.· ·And does that render the procedure higher risk?

    ·4· A.· ·Yes, it can be a higher risk to perform based upon

    ·5· · · ·other medical comorbidities of the patient.

    ·6· · · · · · · · · MR. CROSS:· Okay.· I don't have further

    ·7· · · ·questions.· Thank you for your time, Doctor Kansakar.

    ·8· · · · · · · · · THE WITNESS:· Thank you, sir.

    ·9· REEXAMINATION BY MR. CORBET:

    10· Q.· ·Doctor, I just have a little bit of follow-up.· This

    11· · · ·is Dan Corbet again.· Just some housekeeping.

    12· · · · · · · · · I don't know if I identified the April 7th

    13· · · ·jail note as an exhibit, but if I didn't, it's

    14· · · ·Defendants' Exhibit 3.

    15· · · · · · · · · And then just, Doctor, you don't have any

    16· · · ·personal recollection of talking to the jail nurse,

    17· · · ·Colleen, or any other jail or prison personnel about

    18· · · ·reversing the colostomy, do you?

    19· A.· ·I do not have any recollection of talking to any other

    20· · · ·individual in person.· I am just referring to my

    21· · · ·medical notes at this time.

    22· Q.· ·Right.

    23· · · · · · · · · And I didn't see any notes that you

    24· · · ·personally talked to anybody at the jail regarding

    25· · · ·reversing the -- the jail or the prison regarding




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    ·1· · · ·reversing the colostomy, is that fair?

    ·2· A.· ·I do not see any note in person, but, again, this

    ·3· · · ·letter says to whom it may concern.· I'm not sure

    ·4· · · ·where it was faxed to.· From what was shown earlier,

    ·5· · · ·it was faxed to Colleen, but that's about it.

    ·6· Q.· ·Okay.· And did you participate -- well, strike that.

    ·7· · · · · · · · · I showed you several notes from the jail

    ·8· · · ·and prison about where it was noted that discussions

    ·9· · · ·were held with your office -- in one particular case,

    10· · · ·Kathy -- about reversing the colostomy.

    11· · · · · · · · · Do you remember me showing you those notes?

    12· A.· ·Yes, sir.

    13· Q.· ·Okay.· You don't know if Kathy told the jail or the

    14· · · ·prison nurses or personnel that this was medically

    15· · · ·necessary or not, do you?

    16· A.· ·I do not know that.· From what I recall and referring

    17· · · ·back to my notes, you know, the letter states that,

    18· · · ·you know, this is what I would recommend for him, and

    19· · · ·Kathy at that time being my office manager would have

    20· · · ·taken the lead on the communication part.

    21· Q.· ·Right.

    22· · · · · · · · · And the letter that you're talking about,

    23· · · ·that's dated January 24th, correct?

    24· A.· ·Yes, sir.

    25· Q.· ·And the conversation that I talked -- that I showed




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    ·1· · · ·you in the jail note is dated February 1, about a week

    ·2· · · ·later, a little more than a week later, correct?

    ·3· A.· ·Yes.· I believe that was the date, but I currently

    ·4· · · ·don't have access to that note.

    ·5· Q.· ·Okay.· You can take my word for it.· Exhibit --

    ·6· · · ·defendants' exhibit does show that it's February 1,

    ·7· · · ·2017.· But nowhere in that note -- well, strike that.

    ·8· · · · · · · · · That note suggests that someone at the

    ·9· · · ·jail -- namely, Nurse Colleen -- spoke with your

    10· · · ·office manager, Kathy, correct?

    11· A.· ·Yes.

    12· · · · · · · · · MR. CORBET:· Thank you.· That's all I have.

    13· · · · · · · · · THE WITNESS:· Thank you.

    14· REEXAMINATION BY MR. SCARBER:

    15· Q.· ·Doctor Kansakar, just a couple follow-up questions.

    16· · · · · · · · · First question.· When you were advising

    17· · · ·Mr. Jackson about the risks and potential

    18· · · ·complications of these procedures, you didn't tell him

    19· · · ·you're young, so these things aren't going to happen

    20· · · ·to you, did you?

    21· A.· ·I'm sorry.· These things refer to --

    22· Q.· ·I'm sorry.· When you were -- let me rephrase my

    23· · · ·question, and let me be a little more specific.

    24· · · ·That's my fault.

    25· · · · · · · · · When you were discussing the risks and




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    ·1· · · ·potential complications of this procedure with

    ·2· · · ·Mr. Jackson, you didn't tell him, oh, by the way,

    ·3· · · ·you're young, so you don't have a risk of infection,

    ·4· · · ·you don't have a risk for potential need for

    ·5· · · ·reoperation, you don't have a risk for potential

    ·6· · · ·leakage or damage to the surrounding structures

    ·7· · · ·including the ureter.· You didn't tell him that he was

    ·8· · · ·at any less risk than anybody else, did you?

    ·9· A.· ·No, I did not tell him that he was at any risk.             I

    10· · · ·don't think that would -- at least in my note, I don't

    11· · · ·mention that, and I do not recollect.

    12· Q.· ·Right.

    13· · · · · · · · · And I think you said any risk, but you

    14· · · ·didn't tell him that he was at any less of a risk than

    15· · · ·any other person, did you?

    16· A.· ·Again, that's -- that depends upon every patient and

    17· · · ·their risk factors.· It would be hard to compare him

    18· · · ·against an eighty-year-old with a lot of other

    19· · · ·comorbidities.· So I don't know if this is less in

    20· · · ·terms of somebody who is eighty versus somebody who is

    21· · · ·fifty.

    22· · · · · · · · · Again, looking at his history, he did not

    23· · · ·have any other medical comorbidities, so I would

    24· · · ·assume the risks would be less, but, again, there

    25· · · ·could still be complications like bleeding which is




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    ·1· · · ·not an age-related factor or age-related complication.

    ·2· Q.· ·And I think you might have answered my question, but

    ·3· · · ·let me just ask it in a more defined way.

    ·4· · · · · · · · · When you were explaining to him the risks

    ·5· · · ·and complications of this potential procedure, you

    ·6· · · ·didn't tell him when you were explaining this stuff to

    ·7· · · ·him that you're only thirty-four years old or you're

    ·8· · · ·only -- you're just over thirty, so don't worry about

    ·9· · · ·it.· You told him these risks because these risks can

    10· · · ·happen, correct?

    11· A.· ·I don't believe I told him that just because of his

    12· · · ·age factor.

    13· · · · · · · · · The surgery itself has potential risks, and

    14· · · ·that's true with any surgery.

    15· Q.· ·Okay.· So you didn't give him any kind of special,

    16· · · ·special risks and complications.· You told him the

    17· · · ·same risks and complications that can occur with

    18· · · ·everybody, right?

    19· A.· ·Yes, sir.

    20· Q.· ·Do you see this note here?

    21· A.· ·Retrograde cystogram, yeah.

    22· Q.· ·Is this the handwritten note you were referring to?

    23· A.· ·No, sir.

    24· Q.· ·Is there a page number at the bottom of the note

    25· · · ·you're referring to?




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    ·1· A.· ·I think it's page number 91.

    ·2· Q.· ·Can you hold it up to your camera because I think

    ·3· · · ·we've all got different notes here.

    ·4· · · · · · · · · All right.· Let's take a quick break, and

    ·5· · · ·I'll wrap this up.· I don't want to waste your time

    ·6· · · ·while I'm looking at it on my computer, so let's just

    ·7· · · ·take a pause for the cause for a second.

    ·8· · · · · · · · · THE VIDEOGRAPHER:· We're going off the

    ·9· · · ·record at 3:00 p.m.

    10· · · · · · · · · (Off the record at 3:00 p.m.)

    11· · · · · · · · · (Back on the record at 3:03 p.m.)

    12· · · · · · · · · THE VIDEOGRAPHER:· We are back on the

    13· · · ·record at 3:03 p.m.

    14· · · · · · · · · MR. SCARBER:· Doctor Kansakar, thank you

    15· · · ·for your time again.· I don't have anything further at

    16· · · ·this time.

    17· · · · · · · · · I would note that we do reserve the right

    18· · · ·to call you later in the case if we need to for a

    19· · · ·discovery deposition as we are just at the early

    20· · · ·stages of discovery in this case.

    21· · · · · · · · · THE WITNESS:· Yes.

    22· · · · · · · · · MR. CORBET:· I'm sorry.· Thank you, Doctor.

    23· · · ·I would join in that request or statement.· Thank you.

    24· · · · · · · · · MR. SCARBER:· And just for my housekeeping,

    25· · · ·I tried to reference the records.· I think some of us




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   ·1· ·might have the same set of records, so, Ian, we'll

   ·2· ·have to figure out I guess if we're going to be using

   ·3· ·the same set, same page numbers and all that kind of

   ·4· ·stuff.

   ·5· · · · · · · But the records I referenced I tried to

   ·6· ·identify and I think I did on the record, so, but if I

   ·7· ·need to go back and fix that, you know, I will.· But

   ·8· ·hopefully everything is identified properly in the

   ·9· ·transcript.

   10· · · · · · · MR. CROSS:· Sure, no problem.

   11· · · · · · · I don't have any further questions, either.

   12· ·Thank you for your time, Doctor Kansakar.

   13· · · · · · · THE WITNESS:· Thank you, everybody.

   14· · · · · · · THE VIDEOGRAPHER:· This concludes today's

   15· ·deposition.· We are off the record at 3:05 p.m.

   16

   17· · · · · · · (Deposition concluded at 3:05 p.m.)

   18

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    ·1· STATE OF MICHIGAN· · )
    · · · · · · · · · · · · ·)SS.
    ·2· COUNTY OF LIVINGSTON )

    ·3· · · · · · · · ·CERTIFICATE OF NOTARY PUBLIC

    ·4· · · · · · · · · · · · · · ·I certify that this transcript

    ·5· · · ·is a complete, true, and correct record of the

    ·6· · · ·testimony of the deponent to the best of my ability

    ·7· · · ·taken on Friday, March 5, 2021.

    ·8· · · · · · · · · · · · · · ·I also certify that prior to

    ·9· · · ·taking this deposition, the witness was duly remotely

    10· · · ·remotely sworn by me to tell the truth.

    11· · · · · · · · · · · · · · ·I also certify that I am not a

    12· · · ·relative or employee of a party, or a relative or

    13· · · ·employee of an attorney for a party, have a contract

    14· · · ·with a party, or am financially interested in the

    15· · · ·action.

    16

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    19

    20
    · · · · · ___________________________________________
    21
    · · · · ·Cheryl McDowell, CSR-2662
    22· · · ·Notary Public, Livingston County
    · · · · ·State of Michigan
    23· · · ·Commission Expires September 13, 2025

    24

    25
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